






NUMBER 13-00-698-CV

COURT OF APPEALS

THIRTEENTH DISTRICT OF TEXAS

CORPUS CHRISTI

____________________________________________________________________


KAREN WILLIAMSON ,  Appellant,


v.

FLOUR BLUFF INDEPENDENT SCHOOL DISTRICT, ET AL. , Appellees.

____________________________________________________________________


On appeal from the 347th  District Court

of Nueces County, Texas.

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O P I N I O N

Before Justices Dorsey, Rodriguez, and Castillo

Opinion Per Curiam



Appellant, KAREN WILLIAMSON , perfected an appeal from a judgment entered by the 347th District Court of Nueces
County, Texas, in cause number 00-4361-H .  On June 28, 2001, this Court entered an order for appellant to file a proper
brief with this Court on or before July 23, 2001.  Appellant was further advised in accordance with Tex. R. App. P. 42.3
that, if a proper appellate brief was not filed by July 23, 2001, this appeal would be dismissed for failure to comply with the
Rules of Appellate Procedure and this Court's order.  Appellant tendered her amended brief on July 23, 2001; however, said
brief fails to comply with the Rules of Appellate Procedure.  

The Court, having considered the documents on file and appellant's failure to file a proper appellate brief, is of the opinion
that the appeal should be dismissed.  The  appeal is hereby DISMISSED.

PER CURIAM

Do not publish.

Tex. R. App. P. 47.3.

Opinion delivered and filed this

the 23rd day of August, 2001 .


